 Case 15-18989-jkf         Doc 121         Filed 05/08/19 Entered 05/09/19 07:43:42                Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Regina N.K. Ndeto
                                  Debtor                                            CHAPTER 13

ARCPE HOLDING, LLC
                                  Movant
                vs.
                                                                                  NO. 15-18989 JKF
Regina N.K. Ndeto
                                  Debtor

Frederick L. Reigle Esq.
                                  Trustee                                 11 U.S.C. Sections 362 and 1301

                                                    ORDER

         AND NOW, this 8th         day of May             , 2018 at Philadelphia, upon failure of Debtor and the
                                                                 xxxxxxxxxxxx
 Trustee to file and Answer or otherwise plead, it is:
         ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is granted and
 the Automatic Stay of all proceeding, as provided under Section 362 of the Bankruptcy Abuse and Consumer
 Protection Act of 2005 (The Code), 11 U.S.C. Section 362, is modified with respect to the subject premises
 located at 305 Fairfield Avenue, Upper Darby, PA 19082 (“Property), so as to allow Movant, its successors
 or assignees, to proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in
 rem State Court remedies.xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                          including, but not limited to, taking the Property to Sheriff’s Sale, in addition to
 potentially pursuing other loss mitigation alternatives including, but not limited to, a loan modification, short
 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
 sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or
 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
 purchaser's assignee) may take any legal action for enforcement of its right to possession of the Property.




                                                                               United States Bankruptcy Judge.

                                                                               Jean K. FitzSimon
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